4:04-cr-03008-RGK-DLP   Doc # 101    Filed: 01/05/07   Page 1 of 1 - Page ID # 371




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           4:04CR3008
                        Plaintiff,          )
                                            )
     vs.                                    )           ORDER
                                            )
CHRISTIAN P. FIROZ,                         )
                                            )
                  Defendant.                )


     IT IS ORDERED that a revocation hearing is set to commence at

12:00 p.m. on February 8, 2007 before the Hon. Richard G. Kopf,

United States District Judge, in Courtroom #1, United States

Courthouse, Lincoln, Nebraska.


     Dated: January 5, 2007.


                             BY THE COURT


                             s/ David L. Piester

                            David L. Piester
                            United States Magistrate Judge
